Case 1:20-cr-O0008-MKB Document 105-8 Filed 02/13/23 Page 1 of 2 PagelD #: 651

From:

To: Steven Nerayoff;

cc:

Sent: 9/10/2017 3:02:19 PM

Subject: Re: Updated Proposal + Options for Alchemist.

Bancor Tokens = 250,000,000 (250 Million BE okens) = if using $0.008 / token (to stick with that number for
reference) = about $ 2,000,000.00 USD.

90 Day Lock on bonus tokens.

Total Market Cap (for modeling purposes) = $0,008 times 10,000,000,000 tokens = $80,000,000 (80 million USD).

ae are in ETH (to normalize the entire model) right now. I'm translating to USD using $0,008 as the base for 1
in USD value to do that.

Thank you.

On Sun, Sep 10, 2017 at 2:57 PM, Steven Nerayoff a 01.

Did you calculate total market cap assuming no more bonuses other than what is on the sheet?
Sent from my iPhone. Apologies for misunderstandings or typos due to the spell checker.

On Sep 10, 2017, at 4:34 PM a 0:0.

Hi, Steven:
+c

Really sorry you're not feeling well ---- your health is very important. I'll try and summarize as clearly and simply as

possible below for you on where things stand. Let me know if I missed anything, tried to be as clear/detailed as
possible.

FACTS:

Total Supply of Tokens = 10,000,000,000 (10 billion)

Total Supply of Tokens for SALE = 6,000,000,000 (6 billion)
ETH Rate = $325

BTC Rate — $4010

Tokens SOLD in Hub Sale + PreSale = 4,932,939,502.08
Tokens LEFT for Presale/Crowdsale = 1,067,060,497.92

Total Raise = 153,846.15 ETH ($50,000,000 USD) @ $325 ETH Rate

SEPARATED OUT OF THIS EMAIL IS BANCOR = 2.5% 0f Raise, 2.5% of Tokens.
Bancor is owed $1,250,000 ETH, and 250,000,000 GE oes.

Alchemist ORIGINAL Deal was 20% of Raise, and 20% of Tokens.

CONFIDENTIAL GE 016083
© $10°000,000 USD value in ETEL
© 2,000,000,000 in Et okens

*** Alchemist NEW SEPT 10, 2017 Deal is moving the 20% in Tokens to the Raise Incentive. ***

e $20,000,000 USD in ETH

OPTIONS FOR Alchemist to consider, as we would prefer you to hold

numbers below, we used $0.008 USD = 1 STORM.

1. OPTION 1:

as
a For "value" simplicity in the

= SUMMARY = $12M ETH + 812,307,692.31 BE Tokens at 65% bonus rate, 90 day lock on

bonus tokens

= For reference, 812,307,692.31 in BE oicens is about $ 6,498,461.54 in USD value

= Total Value = 18,498,461.54 USD
1. OPTION 2:

s SUMMARY = $15M ETH + 492,307,692.31 [nn Tokens ($5
= For reference, 492,307,692.31 in Tokens at $.008USD/

value
® Total Value = 18,938,461.54 USD

NEXT STEPS:

| send Steve notes
2. Agree on ETH/BTC Ratio
3. Agree on the MASTER SPREADSHEET w #'s
separate out of company to 2) be necessary
to take over the distribution of tokens to the Hubs

.

aA BG

Warmly,

CONFIDENTIAL

M_USD

a - $3,938,461.54 in USD

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